        Case 20-40208-mxm11 Doc 69 Filed 06/22/20 Entered 06/22/20 07:50:21                                 Desc
                           Letter RE deficiency (BK) Page 1 of 1
BTXN 027 (rev. 06/13)
                                         UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
Todd Meagher                                                §    Case No.: 20−40208−mxm11
                                                            §    Chapter No.: 11
                                           Debtor(s)        §


Dear Robert Rowe:

     The above referenced case has been reviewed as part of the Clerk's Office continuing effort to identify cases that
are deficient for specific documents. Our review indicates that this case requires:

                Interim Report
                Trustee's Final Account
                Trustee's Final Report
                341 Meeting Minute Sheet and Exempt Property Report
                Report of Trustee in No−Asset Case and Application for Closing
                Motion to Dismiss debtor's Failure to Attend 341 Meeting
                Other: Order on motion 45, Amended Motion to redact/restrict, and 56, Motion for leave to
                remove redactions

Please electronically file the requested documents, provide a specific date for which this information will be provided
to the Court, or provide information as to why this case should remain open. Failure to respond within 14 days from
the date of this letter may result in the Court setting a status conference to determine why the document(s) has not
been filed or the matter may be denied for want of prosecution.



DATED: 6/22/20                                   FOR THE COURT:
                                                 Robert P. Colwell, Clerk of Court

                                                 by: /s/P. Bibbs−Samuels, Deputy Clerk
                                                 paula_bibbs−samuels@txnb.uscourts.gov
